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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF WISCONSIN

 

UNITED STATES OF AMERICA

Vv. Case No. 20-mj-80

MARQUON CLARK,

Defendant.

 

COMPLAINT FOR VIOLATIONS OF
TITLE 18, UNITED STATES CODE, SECTION 844(i)

 

BEFORE United States Magistrate Judge United States District Court
Stephen L. Crocker 120 North Henry Street
Madison, Wisconsin 53703

The undersigned complainant being duly sworn states:
COUNT 1
On or about June 24, 2020, in the Western District of Wisconsin, the defendant,
MARQUON CLARK,
maliciously attempted to damage and destroy, by means of fire, the City-County
Building, a commercial building in Madison, Wisconsin, which was used in interstate

and foreign commerce.

(In violation of Title 18, United States Code, Section 844(i)).

 
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This complaint is based on the attached affidavit of

 
   

Special Agent, Bureau of Alcohol,
Tobacco, Firearms and Explosives

— ff
Sworn to me telephonically this 7 day of October, 2020.

- Se

HONORABLE STEPHEN L,. CROCKER
United States Magistrate Judge

 

 
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AFFIDAVIT
STATE OF WISCONSIN _ )}

DANE COUNTY )

 

INTRODUCTION AND AGENT BACKGROUND

1. {am a Special Agent of the United States Justice Department, Bureau of
Alcohol, Tobacco, Firearms and Explosives (ATF), currently assigned to the Madison
Field Office. I have been so employed since July of 2009. Tama graduate of the Federal
Law Enforcement Training Center Criminal Investigator Training Program, the
Department of Justice, Bureau of Alcohol Tobacco Firearms and Explosives Special
Agent Basic Training, and have received extensive training to qualify as an expert in fire
origin and cause investigations. Prior to my employment with the ATF, I was
employed as a local fire marshal/ fire investigator/ fire fighter in the state of Virginia
from June 1997 to December 2008.

2. The facts contained in this affidavit are known through my personal
knowledge, training, and experience, and through information provided to me by other
law enforcement officers, who have provided information to me during the course of
their official duties and whom I consider truthful and reliable.

3. In the early morning hours of June 24, 2020, an individual intentionally set
fire to the City-County Building (CCB), located at 210 Martin Luther King Blvd. in

Madison, Wisconsin. As set forth below, photographic evidence, digital forensic
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evidence, and DNA evidence recovered from the scene establish probable cause that
Marquon CLARK is the individual who attempted to damage the CCB by using fire.
This affidavit does not contain every fact I know about this investigation, but merely is
intended to show probable cause that CLARK committed a violation of Title 18, United
States Code, Section 844(i), attempting to cause damage by fire or an explosive.

A, In connection with this investigation, I reviewed numerous surveillance
videos and photos, taken at and around the time of the arson. I also reviewed
surveillance videos and photos of CLARK walking around different locations in
downtown Madison during the day on June 23, 2020.

5. On June 23, 2020, surveillance cameras show CLARK walking around
different locations in downtown Madison. The following photographs from June 23
between 11:00 a.m. and 1:00 p.m. from the area of Francis and State Street were shown
to a Madison Police Department Sergeant. This particular sergeant has arrested CLARK
on one previous occasion and had about five other professional contacts with him. In
each of the three photographs below, the sergeant identified CLARK as the individual
circled in red, who is wearing a blue colored straight brim hat with a tan brim, a black
hoodie sweatshirt, faded jeans, brown shoes, and carrying a blue colored back pack
with tan/brown arm straps. In addition, I have identified a woman walking with
CLARK who I will refer to as “T.B.” “T.B.” is wearing a black and pink North Face

jacket and black pants with white strips down the legs."

 

1 Based on interviews I have conducted, | believe “T.B.” is CLARK's girlfriend.

 
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6. In addition, I recognize CLARK from the following picture taken on June
23 from a business in downtown Madison. In the picture, J noticed that the rear of

CLARK ’s blue colored. backpack has contrasting piping.

 

 

 

 
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7. In the photographs below, CLARK is seen at approximately 5:30 p.m. on
June 23, 2020, in downtown Madison. In the photographs, he is wearing the same blue
colored straight brim hat with tan brim, a black hooded sweatshirt, faded jeans, and

brown shoes as earlier in the day.

 

8. On June 23, 2020, at approximately 7:30 p.m., protestors in downtown
Madison surrounded a commercial tow truck. The tow truck was parked in front of the
Dane County Courthouse, at South Hamilton Street and North Henry Street, which is
located one block from the CCB. Protesters caused the driver to evacuate and abandon

his vehicle. A YouTube video shows CLARK, standing on top of the tow truck,

 

 
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recording a video.? During the video, CLARK makes the following statements - “We
got a mother fucking tow truck,” “Fuck12,” “We going to get that mother fucker, I
promise you,” “it’s a revolution, come downtown tonight it’s about to go down.” A still
image of CLARK from the video is below. In the video, CLARK is wearing a black
sweatshirt with an oval “Empyre” logo on the chest. It should be noted that the
“Empyre” logo appears to be written backwards (or “mirrored”). Similarly, it also
appears that the “Empyre” logo is on CLARK ’s right chest rather than on the left (as

seen above). I am aware that such “mirroring” can happen when someone records an

image with a cellular telephone.

 

 

2 https: / /www.youtube,com/ watch?v=Rawl6kq44uU

 

 
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9. On June 24, 2020, at approximately 12:15 a.m., as depicted below, city
cameras show a person that I believe is CLARK walking towards the CCB building
holding a water bottle with what appears to be a wick sticking out of the top of the
bottle. In the picture, CLARK is seen wearing a black hooded sweatshirt, faded jeans,
brown shoes, and a blue colored backpack with tan/brown straps. I believe that
CLARK is the person depicted below based on the similar clothing and backpack that

he was seen wearing earlier in the day. The image also shows a person who is the same

size and body shape as CLARK.

 

10. | Although the picture above does not show CLARK’s face, it is important

to note the similarity between the clothing he is wearing at that time compared to the

 

 
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surveillance photos of him earlier in day. A side-by-side comparison of this photograph

to pictures of CLARK earlier on June 23 is below.

 

 

 

 

 
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11. On June 24, 2020, at approximately 12:41 a.m., Dane County Dispatch
employees within the CCB heard glass breaking near their workspace and smoke was
observed in the building. The CCB’s fire alarms were then activated and employees

began to evacuate the building.

12. Photographs from the exterior of the CCB building taken at same time
show a person who I believe is CLARK throwing projectiles through the windows of
the CCB. I believe this image shows CLARK based on the similar clothing and
backpack that he was seen wearing earlier in the day. The image also shows a person
who is the same size and body shape as CLARK. After the windows were broken,
CLARK threw a lit roll of paper towels into the CCB in an attempt to start a fire, as
depicted in the photographs below. In the photographs, CLARK is wearing the same
blue colored backpack with tan/brown arm straps and contrasting piping that he was

captured on video wearing earlier in the day.

 

 
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13. The following three photographs from the exterior of the CCB show a
person resembling “T.B.” at the scene with CLARK. This is the same woman identified
as being with CLARK earlier in the day on June 23, 2020. She still appears to be

wearing the same jacket and black pants with white strips down the legs as earlier in

the day.

 

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14. Officers responding to the CCB noticed a clear plastic water bottle with a
burned wick in the neck of the bottle, outside of the building near where CLARK was
standing. As shown below, this water bottle looks similar to the water bottle CLARK
was holding approximately 15 minutes before the fire started. This water bottle was

collected at the scene and later sent to an ATF laboratory for DNA analysis.

 

15, As shown below, at the scene of the fire inside the CCB, investigators

located a clear plastic bottle with a burned neck.

 

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Deputies from the Dane County Sheriff's Office were able to put out the fire, preventing
it from spreading beyond the cubical and its contents. At the time of the fire, the CCB

was occupied by over 250 people, including approximately ten deputies with the Dane

County Sheriff's Office and approximately 182 adult and juvenile inmates at the jail.
ty PP y J J

 

The Madison Fire Department responded to the extinguished fire to ventilate the
building. The Madison Fire Investigation Team responded to the scene to conduct the
origin and cause investigation. The Madison Fire Investigation Team determined the
fire was intentionally set, and classified the fire as incendiary, The fire resulted in

approximately $105,000 in damages and clean-up costs.

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16. On June 24, 2020, I walked through the arson scene at the CCB prior to the
cleanup contractors making entry into the secured space. I observed the fire scene in its
post-processing condition. I observed items that I believe were used as projectiles to
break windows at the CCB prior to the fire. These projectiles included several rocks
laying on the floor, a metal bar on a desk in the cubicle where the fire started, and a
small hammer located on the aisle way floor close to the cubicle where the fire started. I
collected the hammer and metal bar as ATF evidence. The hammer and metal bar were

both sent to the ATF laboratory for latent prints and DNA analysis.

17. The CCB is the property of the City of Madison and Dane County. Both
the City of Madison and Dane County conduct business in interstate commerce, for
instance by purchasing vehicles and other equipment and supplies in interstate
commerce. The activities of the City of Madison and Dane County in enacting and

enforcing laws also affect interstate commerce.

18. During the course of my investigation, I found a Facebook account that
appears to belong to CLARK - https: / /www.facebook.com/sire.gq. I know that “Sire
GQ” is a nickname used by CLARK. AsI reviewed the account, lsaw numerous
Facebook Live videos taken by CLARK on June 21, 2020, as he helped lead protests in
downtown Madison. In one of the videos from that day, he can be seen and heard

leading the following chant - “If we don’t get it, burn it down.”

19. On June 30, 2020, officers stopped a 2007 white Chevrolet Malibu with
Wisconsin license plate number AAR7825 (“the Malibu”) on Verona Road in Madison.

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CLARK was driving the Malibu and “T.B.” was in the front passenger seat. The Malibu
is registered to “T.B.” CLARK was arrested for a parole warrant and he did not have a
cellular telephone in his possession. “T.B.” was released with a cellular telephone in her

possession, The Malibu was towed away from the scene.

20. On July 1, 2020, Magistrate Judge Stephen Crocker signed a search
warrant for the Malibu, During the search, officers found a black Apple iPhone (“the
iPhone”) on the front passenger's seat on top of a pale blue shirt. In addition, agents
found a receipt from a Zumiez store in Chicago, Illinois, that showed the Empyre
“Cosmic Realm” sweatshirt was purchased on June 20, 2020. As shown in the picture
below, agents also found a shoebox in the trunk of the vehicle for brown Vans shoes
(size 10). The Zumiez receipt from June 20 also showed the purchase of these shoes.
The picture of the shoes on the shoebox is consistent with the shoes that CLARK is seen

wearing throughout the day on June 23 and at the scene of the arson of the CCB.

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21. On July 2, 2020, United States District Judge William Conley signed a
search warrant for the iPhone. A subsequent search of the iPhone and its contents
revealed it belonged to CLARK and was assigned telephone number (608) 716-9112.
Specifically, the iPhone contained photographs and videos of CLARK and electronic
communications between CLARK and other individuals, In addition, (608) 716-9112
was CLARK’s registered telephone number with the Wisconsin Department of

Corrections,

22. On July 1, 2020, and again on September 4, 2020, Magistrate Judge
Stephen Crocker signed search warrants for cellular data related to telephone number
(608) 716-9112. The cellular data received from Sprint for (608) 716-9112 was sent to the

Federal Bureau of Investigation (FBI) for analysis.

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23. As noted above, CLARK wore a black Empyre hoodie during the day on
June 23, 2020, and agents found a receipt in the Malibu that showed the Empyre
sweatshirt was a “Cosmic Realm” style. Agents determined the Empyre brand is sold
through the retailer Zumiez. Agents purchased a “Cosmic Realm” hooded sweatshirt

through an online purchase from Zumiez. As explained in paragraph 24, agents believe

that CLARK wore the sweatshirt inside out in the photographs below.

 

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24. A picture of the Empyre “Cosmic Realm” sweatshirt purchased by agents is
shown below after being turned inside out. As seen in the photographs, when the
sweatshirt was turned inside out, the front shows a white oval on the right chest. In
addition, the back of the sweatshirt shows a screen printed tag at the top center of the
sweatshirt. When the images of the purchased sweatshirt are compared to the pictures
of CLARK shown above, it leads me to conclude that CLARK turned his “Empyre”

sweatshirt inside out prior to the fire at the CCB.

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25. After analyzing the cellular data from CLARK’s telephone (608) 716-9112,
FBI agents found that the telephone utilized a Sprint cellular tower that provides
coverage to the area around the CCB at the following times on June 24, 2020: 12:01 a.m.;
12:15 a.m.; 12:23 a.m.; 12:34 a.m.; 12:48 a.m.; 12:49 a.m.,; 12:55 a.m., and 12:58 a.m. The
cellular tower is on top of the building located at 333 W. Main St. in Madison and is

approximately four blocks southwest from the CCB.

26. On October 1, 2020, I received a report from the ATF laboratory regarding
the water bottle found outside the CCB and the hammer recovered from fire scene (see
paragraphs 14 and 16 above). According to the report, a forensic biologist obtained a
DNA mixture from the hammer and determined that the DNA likely originated from

CLARK and three unknown individuals. The report stated that “[t]he DNA profile is at

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least 1 trillion times more likely if it originated from Marquon Clark as a major
contributor and three unrelated, unknown individuals than if it originated from four
unrelated, unknown individuals.” In addition, the report found that “[t]he probability
of an unrelated individual in the population, who has not contributed DNA to this

sample, yielding this level of support, is less than 1 in one trillion.”

27. Regarding the water bottle, a forensic biologist obtained a DNA mixture
and determined that the DNA likely originated from “T.B.” and two other unknown
individuals. The report stated “[t]he DNA profile is 266 million times more likely if it
originated from [’T.B.”] as the major contributor and two unrelated, unknown
individuals than if it originated from three unrelated, unknown individuals.” In
addition, the report found “[t]he probability of an unrelated individual in the
population, who has not contributed DNA to this sample, yielding this level of support,

is less than 1 in 266 million.”

28. Based on the foregoing facts, I believe there is probable cause that CLARK

committed violations of Title 18, United States Code, Section 844({i), attempting to cause

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damage by fire or an explosive, as described in the attached criminal complaint.

Dated this day of October 2020.

 

 

      

pecial Agent,

THe gy
Subseribed-and sworn to before me telephonica p on 7 day of October 2020.

Si

STEPHEN L. CROCKER
United States Magistrate Judge

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